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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NICOLE PILEGGI, individually and on
behalf of persons similarly situated,

                Plaintiff,

        v.                                                  No. 1:23-cv-00345-BAH

WASHINGTON NEWSPAPER
PUBLISHING COMPANY, LLC,

                Defendant.


                        NOTICE OF SUPPLEMENTAL AUTHORITY

       The Washington Examiner Newspaper Publishing Company, LLC (“Washington

Examiner”) submits this Notice of Supplemental Authority to provide the Court with the recent

decision in Hunthausen v. Spine Media, LLC, 22-CV-01970 (S.D. Cal. June 21, 2023) (Ex. A),

dismissing with prejudice a Video Privacy Protection Act (“VPPA”) complaint. Hunthausen

supports the Washington Examiner’s argument that “goods or services” in 18 U.S.C.

§ 2710(a)(1) must be interpreted “[i]n the statute’s full context” to be limited to “audio-visual

goods or services, and not goods or services writ large.” Ex. A at 5-6 (adopting the reasoning in

Carter v. Scripps Network, LLC, 2023 WL 3061858 (S.D.N.Y. Apr. 24, 2023)); see also

Washington Examiner Mot. To Dismiss, Dkt. 21 at 16-18 (relying on Carter); Washington

Examiner Reply, Dkt. 23 at 8 (same).
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       Because Hunthausen had not plausibly alleged in his amended complaint that he rented,

purchased, or subscribed to “goods or services,” so defined, from Spine Media, 1 the court

dismissed the complaint with prejudice without reaching any of the defendant’s other grounds

for dismissal. See Ex. A at 6-7.

                                                Respectfully submitted,

                                                /s/ Scott H. Angstreich
                                                Mark C. Hansen (D.C. Bar No. 425930)
                                                Scott H. Angstreich (D.C. Bar No. 471085)
                                                Grace W. Knofczynski (D.C. Bar No. 1500407)
                                                Eden M. Bernstein (D.C. Bar No. 1780538)
                                                KELLOGG, HANSEN, TODD,
                                                 FIGEL & FREDERICK, P.L.L.C.
                                                1615 M Street, N.W., Suite 400
                                                Washington, D.C. 20036
                                                Telephone: (202) 326-7900
                                                Fax: (202) 326-7999
                                                mhansen@kellogghansen.com
                                                sangstreich@kellogghansen.com
                                                gknofczynski@kellogghansen.com
                                                ebernstein@kellogghansen.com

                                                Counsel for Defendant The Washington
                                                Newspaper Publishing Company, LLC

June 26, 2023




       1
         Hunthausen’s allegations differed from Pileggi’s. He alleged he was a consumer
because he purchased third-party products advertised on Spine Media’s website for which it
received compensation. See Ex. A at 5.


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